  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-1096

                      UNITED STATES,

                   Plaintiff, Appellee,

                            v.

                    IRA W. DAMON, III,

                  Defendant, Appellant.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MAINE

       [Hon. Morton A. Brody, U.S. District Judge]

                          Before

                 Selya, Stahl and Lynch,
                    Circuit Judges.

 Jeffrey Silverstein and Billings &amp;amp; Silverstein on brief for
appellant.
 Jay P. McCloskey, United States Attorney, James Moore,
Assistant U.S. Attorney, and F. Mark Terison, Assistant U.S.
Attorney, on brief for appellee. 

SEPTEMBER 11, 1998

                                                Per Curiam.  Upon careful review of the briefs and
record, we find no reason to disturb the sentence imposed on
remand after defendant's first appeal, United States v. Damon,
127 F.3d 139 (1st Cir. 1997). 
          We reject defendant's contention that he was entitled
to the benefit of U.S.S.G.  2K2.1(b)(2).  In light of the
relevant surrounding circumstances, including defendant's prior
conviction for threatening a victim by pointing a Colt .45 at
his head, the district court did not clearly err in determining
that defendant did not possess the same or similar Colt .45
solely as a collector or that he had used it for unlawful
purposes.  See  2K2.1, application note 10; United States v.
Cousens, 942 F.2d 800, 802 (1st Cir. 1991).
          We also reject defendant's contention that the
district court was required to explain its choice of a sentence
n the middle of the applicable guideline range.  See Williamsv. United States, 503 U.S. 193, 205 (1992).  Nothing in the
record suggests to us any retaliatory motive.
          Affirmed.  See 1st Cir. Loc. R. 27.1.
